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EXHIBIT 3
 

 

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COUNTY OF LOS ANGELES-
OFFICE OF THE COUNTY COUNSEL

648 KENNETH HAHN HALL OF ADMINISTRATION
500 WEST TEMPLE STREET

 

LOS ANGELES, CALIFORNIA 90012-2713 ., TELEPHONE
(323) 526-5045
RAYMOND G. FORTNER, JR. "FACSIMILE
: County Counsel August 21, 2007 (323) 267-6687
TDD
Reply to (213) 633-0901

SHERIFF'S LEGAL ADVISORY UNIT
4700 Ramona Boulevard, Suite 225
Monterey Park, California 91754-2169

Ronald Chatters, IH
_ American Civil Liberties Union (ACLU)
_ of Southern California
1616 Beverly Boulevard
Los Angeles, California 90026

Re: California Public Records Request Act .

Dear Mr. Chatters:

 

iecoids, ‘Below 1 have set forth each of your requests and the Coinity $ responge,

. Request No. 1

All documents setting for rth guidelines, policies, practices, or standards the
LASD has adopted and/or follows in operating the Los Angeles County Jails (e. g.
a copy of its manual of standards).

Response to Request No. 1

Under Government Code section 6254(f), records of security procedures
of any local agency and security files compiled by a local agency for correctional
purposes are exempt from disclosure under the Public Records Act. The Sheriff's
Department's guidelines, policies and procedures for operating the jails are records
of security procedures and security files compiled for correctional purposes and
are, therefore, exempt from disclosure.

Act requites an agency to’ respond to requests’ for reasonably identifiable records,
The Sheriff's Department maintains a‘number of inaiiual’’ related to the opérations
of jails within the county, including separate manuals for the Inmate Reception

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Center, each jail facility, and individual unit orders for station jails. These
manuals may run several hundreds of pages and contain several hundred
individual subjects. A large number of policies and procedures involve the
security of the jails, and release of this information would jeopardize the security

. and safety of inmates, staff, visitors and the public at large. Therefore, the public
benefit in maintaining the records as confidential substantially outweighs the
benefit of public release of the information, making these records exempt from

disclosure under Government Code section 6255. In addition, portions or all of
these records may be privileged under Evidence Code section 1040 and, therefore,
exempt from disclosure under Government Code section 6254(k).

To the extent that those portions of the records which would impact safety
_ and security could be redacted, the amount of time and manpower it would take to
duplicate, review and redact all of the records would be extremely burdensome on
‘the Sheriff's Department’s limited resources, and is an additional reason even a
request for redacted complete manuals would be exempt under section 6255.

Request No, 2

All documents used in training and/or instructing LASD personnel on
guidelines, policies, practices, or standards the LASD follows in adhering to the
Rutherford vy. Block, CV 75-411 WPG,

Response to Request No. 2

The Rutherford case involves a number and variety of subjects that have

. impacted Sheriff’s Department guidelines, policies, practices and standards. In

-order to assist you in making a request that reasonably identifies existing records,
you will need to provide us with the more specific subject upon which you are
seeking records (i.e., “floor sleepers”). At that point, we will be able to advise
you as to whether any such documents exist and whether they are available or
exempt from disclosure. It is likely that all or most of any such records are
exempt from the disclosure requirements of the Public Records Act under
Government Code section 6254(f) as records of security procedures of any local
agency and security files compiled by a local agency for correctional purposes.

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Request No. 3

All documents used in training and/or instructing LASD personnel on
guidelines in conducting cell searches.

‘Response to Request No. 3

Under Government Code section 6254(f), records of security procedures of
any local agency and security files compiled by a local agency for correctional
purposes are exempt from disclosure under the Public Records Act. Any
documents used in training and/or instructing LASD personnel on guidelines in
conducting cell searches are records of security procedures and security files
compiled for correctional purposes and are, therefore, exempt from disclosure.

Request No. 4

Complete copies of the Uniform Daily Activities Log (UDAL), also
known. as the Title 15 Book, for the entire months of January and June 2007. We
‘request copies of the UDALs for the following facilities and their respective
modules or cell blocks:

Men’s Central Jail (MCI):

Modules: 1750, 22.00, 2100, 3100, 3800, 4400, 5100, 5500,
6050, 7100, 8200, & 9200

. Twin Towers (TTCF):
Modules 141, 162, 171, 242, 251, 262, & 271
North County Correctional Facility (NCCF):
Modules: 512,616, 724, 816, 928.

Response to Request No. 4

Under Government Code section 6254(f), records of security procedures of
“any local agency and security files compiled by a local agency for correctional
purposes are exempt from disclosure under the Public Records Act. Uniform

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Daily Activities Logs are records compiled for correctional purposes and include
security procedures, and, as such, are exempt from disclosure.

Even if UDALs were not exempt from the disclosure requirements of the
Public Records Act, the volume of records you have requested is extremely large.
_ The Sheriffs Department conservatively estimates that it would constitute
approximately 2,800 pages. The amount of time it would take to retrieve,
reproduce, review and redact out confidential information from these documents
‘would place afi extraordinary and unreasonable burden upon the limited resources
- of the Sheriff's Department. Therefore, these records are additionally exempt
from disclosure under Government Code section 6255.

Request No. 5

All documents setting forth guidelines, policies, practices, or standards
that the LASD has adopted and/or follows in housing and providing services to.
the juveniles (those inmates under the age 18) it has in its custody.

Response to Request No. 5

Under Government Code section 6254(f), records of security procedures of
_any local agency and security files compiled by a local agency for correctional
purposes are exempt from the disclosure requirements of the Public Records Act.
The Sheriff's Department’s guidelines, policies and procedures for housing and
providing services to the juveniles it has in its custody are records of security
procedures and security files compiled for correctional purposes and are,
therefore, exempt.

‘ Tn addition, even if the records were not categorically exempt, a number of
policies and procedures involve the security of the jails, and release of this
information would jeopardize the security and safety of inmates, staff, visitors and
the public at large. Therefore, the public benefit in maintaining the records as
confidential substantially outweighs the benefit of public release of the
information, making these records exempt from the disclosure requirements of the
Public Records Act under Government Code section 6255. In addition, portions
or all of these records may be privileged under Evidence Code section 1040, and,
therefore, exempt from disclosure under Government Code section 6254(k). .

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With regard to Request No. 2, please provide us with the specific subject
- matter within the Rutherford case for which you are seeking recotds. You may
send this information to me at Sheriff's Legal Advisory Unit, 4700 Ramona
Boulevard, Suite 225, Monterey Park, California 91754.

Very truly yours,

RAYMOND G. FORTNER, JR.
County Counsel

wy lated INGA

ARY P. GROSS
Principal Deputy County Counsel

Law Enforcement Services Division
APPROVED AND RELEASED:
Abide illo
Chief Deputy County Counsel

GPG:cg

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